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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                         CANON, INC.,                                       Case No. 20-mc-80079-JCS
                                   7                                                        Related Case No. 20-mc-80080-JCS
                                                        Plaintiff,
                                   8
                                                 v.
                                   9                                                        ORDER GRANTING MOTIONS TO
                                                                                            TRANSFER
                                         TCL ELECTRONICS HOLDINGS, LTD.,
                                  10
                                                        Defendant.
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                                  12
Northern District of California
 United States District Court




                                  13          In these related cases, Roku, Inc. (“Roku”) asks the Court to modify or quash Canon, Inc.’s

                                  14   subpoenas seeking original source code and certain documents from Roku in connection with a

                                  15   patent infringement case that is currently pending in the Eastern District of Texas, Case No. 18-cv-

                                  16   00546-JRG (“the Texas action”). Canon, in turn, has asked the Court to transfer these actions to

                                  17   the Eastern District of Texas (“the Texas Court”), where Canon’s subpoenas were issued. See

                                  18   Case No. 20-mc-80079, docket no. 8; Case No. 20-mc-80080, docket no. 6. Pursuant to Rule

                                  19   45(f) of the Federal Rules of Civil Procedure, “[w]hen the court where compliance is required did

                                  20   not issue the subpoena, it may transfer a motion under this rule to the issuing court if the person

                                  21   subject to the subpoena consents or if the court finds exceptional circumstances.” Having

                                  22   considered the parties’ briefs and supporting materials, the Court finds that there are exceptional

                                  23   circumstances here and therefore GRANTS the motions to transfer.

                                  24          The Advisory Committee notes to Rule 45 of the Federal Rules of Civil Procedure provide

                                  25   the following guidance as to when exceptional circumstances may be found:

                                  26                  In the absence of consent, the court may transfer in exceptional
                                                      circumstances, and the proponent of transfer bears the burden of
                                  27                  showing that such circumstances are present. The prime concern
                                                      should be avoiding burdens on local nonparties subject to
                                  28                  subpoenas, and it should not be assumed that the issuing court is in a
                                                      superior position to resolve subpoena-related motions. In some
                                   1                  circumstances, however, transfer may be warranted in order to avoid
                                                      disrupting the issuing court’s management of the underlying
                                   2                  litigation, as when that court has already ruled on issues presented
                                                      by the motion or the same issues are likely to arise in discovery in
                                   3                  many districts. Transfer is appropriate only if such interests
                                                      outweigh the interests of the nonparty served with the subpoena in
                                   4                  obtaining local resolution of the motion.
                                   5   Fed. R. Civ. P. 45 Advisory Committee’s note.

                                   6          The considerations set forth by the Advisory Committee favor transfer. First, the Court

                                   7   finds that Roku’s motion to quash in 20-mc-80079 overlaps considerably with the motion to

                                   8   modify the protective order that is currently pending in the Texas action, raising the possibility of

                                   9   inconsistent outcomes. Likewise, the motion to quash in 20-mc-80080 implicates questions going

                                  10   to the merits that have been the subject of significant attention in the Texas Court, which will be

                                  11   asked to rule on closely related issues going forward. In addition, in light of the current May 25,

                                  12   2020 deadline for exchanging expert reports it is likely that the resolution of Roku’s motions may
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                                  13   disrupt the schedule of the Texas Court; it is more appropriate, therefore, for that court to

                                  14   determine how the parties’ disputes should be handled from the perspective of case management.

                                  15   Finally, based on the Court’s review of the evidence provided by Canon regarding Roku’s

                                  16   relationship with TCL and its involvement in the Texas action, the Court finds that transfer of

                                  17   these actions to the Eastern District of Texas will not impose a significant burden on Roku.

                                  18          Accordingly, the Clerk is instructed to transfer Case No. 20-mc-80079-JCS and Related

                                  19   Case No. 20-mc-80080-JCS to the Eastern District of Texas.

                                  20          IT IS SO ORDERED.

                                  21   Dated: May 14, 2020

                                  22                                                    ______________________________________
                                                                                        JOSEPH C. SPERO
                                  23                                                    Chief Magistrate Judge
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